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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


  DANIEL D’AMBLY,

                 Plaintiff,                           CIVIL ACTION NO.: 2:20-cv-12880

         vs.                                                 (ELECTRONICALLY FILED)

  CHRISTIAN EXOO a/k/a@ANTIFASH
  GORDON; ST. LAWRENCE UNIVERSITY;
  TRIBUNE PUBLISHING COMPANY; NEW
  YORK DAILY NEWS; VIJAYA GADDE;
  TWITTER, INC.; COHEN, WEISS, AND
  SIMON, LLP,

                 Defendants.



       DANIEL D’AMBLY’S RESPONSIVE STATEMENT OF MATERIAL FACTS



        Pursuant to L.Civ.R. 56.1 Plaintiff Daniel D’Ambly (Hereinafter “D’Ambly”), hereby

 submits the following Statement of Undisputed Material Facts in support of his opposition to

 defendants Tribune Publishing Company and New York Daily News’ (collectively “Daily

 News”) request for leave to file a motion for summary judgment:

        1.      D’Ambly was a plate maker and member of Local One-L, Graphic

 Communications Conference of the International Brotherhood of Teamsters (“Teamsters”)

 employed by the New York Daily News.

        2.      Co-defendant in this action, Christian Exoo a/k/a @AntiFashGordon (“Exoo”)

 directs an enterprise of associates that conspire to harm persons they label “fascists, white

 supremacists, and/or Nazis” (“targets”). Exoo and associates conspire to obtain the real identity

 of a target, who has never voluntarily disclosed their identity and likely uses a social media

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 persona or pseudonym. Once they identify the target, they “dox” the target’s information. To

 dox someone means to publicly disclose their undisclosed identity in order to cause physical,

 emotional, or financial harm and/or shame them publicly to extort employment terminations

 and/or school expulsions.

         3.     Once the target has been doxed, Exoo and associates flood the target’s employer,

 co-workers, and/or school administration and classmates with threatening messages. Exoo and

 associates also flood all parties’ social media with negative reviews. As part of the operation,

 Exoo and associates also contact employer’s customers and demand they stop working with the

 employer until the Nazi is fired. This practice is often called “dogpiling.”

         4.     At some point in 2017 or 2018, Exoo targeted D’Ambly.

         5.     On October 29, 2018, Exoo doxed D’Ambly and phone numbers for the Daily

 News, its parent, and subsidiaries, Twitter username, and all of the same contact information for

 the Teamsters with directions that his associates threaten them to extort D’Ambly’s termination.

         6.     Exoo’s associates immediately complied and flooded the Daily News and

 Teamsters with communications demanding D’Ambly’s termination.

         7.     On October 31, 2018, the Daily News parent Triune Publishing Company, LLC,

 responded by hiring Insite Risk Management (“Insite”) to investigate D’Ambly’s out-of-work

 activities.

         8.     On December 4, 2019, Insite produced the “Private Investigation Report”

 (“Report”). The Report did not find D’Ambly brought his political activities into the workplace,

 made derogatory remarks to co-workers, or ever identified himself as a Daily News employee or

 a Teamster at any political rally. The report falsely stated he operated YouTube channel the

 “Jersey Goyz 14.”



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        9.        On January 10, 2019, D’Ambly was called to a meeting with Daily News’ Senior

 Vice President of Operations, James R. Brill (“Brill”), Union Steward Pete Cairnie and Jean

 Nechvatal, Tribune’s Vice President, Talent Management & Learning. At the meeting, he was

 confronted with the findings in the Report, but the existence of the investigation and report was

 not disclosed.

        10.       On January 11, 2019, at 10:21 a.m. if not earlier, internal emails prove that the

 Daily News knew they had received at least two threatening voicemails directed at D’Ambly on

 that day.

        11.       In the afternoon of January 11, 2019, D’Ambly was called to a meeting with Brill,

 where he was issued a “Last and Final Warning Letter” (“LFW”). In the meeting, Brill withheld

 knowledge of the two threatening voicemails received that morning.

        12.       In the LFW Brill acknowledged that D’Ambly did not direct any derogatory

 comments at co-workers or brought his politics into the workplace, but warned “if the Company

 or any of its employees suffer any backlash as a result of your association with the NJEHA, your

 conduct will be considered “work-related” and “you will be terminated immediately.”

        13.       On January 11, 2019, D’Ambly was physically attacked at his home by an Exoo

 associate who scratched his vehicle and slashed the tires. The associate then sent D’Ambly a

 text message asking him if his vehicle was in good shape.

        14.       The phone number that texted D’Ambly after he was attacked at his home, was

 also captured by the Daily News as the number for the caller of one of the threatening voicemails

 they received on the morning of January 11, 2019.




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        15.     Brill breached the duty to warn D’Ambly of the threats when he withheld

 information regarding the threatening voicemails and exposed D’Ambly to danger without the

 ability to take protective measures, such as seek the assistance of law enforcement.

        16.     On January 13, 2019, Exoo as @AntiFashGordon, celebrated D’Ambly’s

 termination when he publicly announced in a Tweet that a “reliable source” informed him that

 “D’Ambly was no longer with the Daily News.”

        17.     On January 14, 2019, D’Ambly was told not to report to work until further notice.

 On January 16, 2019, D’Ambly was notified he was terminated during a conference call.

        18.     After he was terminated, D’Ambly advised the Teamsters and his attorney,

 Cohen, Weiss, and Simon, LLP (“CWS”) that he wanted his employment reinstated, because he

 correctly stated he did nothing wrong or committed any acts that warranted termination.

        19.     On January 23, 2019, the Teamsters filed a grievance with the American

 Arbitration Association. At some point, after the arbitrator was assigned, CWS advised

 D’Ambly that the arbitrator would be hostile toward him and he should forego arbitration and

 accept that his employment would not be reinstated.

        20.     On or about January 25, 2019, D’Ambly received a “Termination of

 Employment” (“TOE”) letter that stated his date of termination was January 18, 2019.

        21.     The TOE stated that D’Ambly was terminated, because on “Monday, January 14,

 2019, we learned that two threatening voice-mails had been left on a Company voice-mail box

 on Friday, January 11, 2019, which caused our company to have serious concern for the safety of

 our employees.”

        22.     The Daily News’ internal emails prove the above statement to be patently false.

 The Daily News knew of the two threatening voicemails on January 11, 2019, but Brill withheld



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 that information during the meeting with D’Ambly on January 11, 2019, so that it could be used

 as evidence that the company received “backlash” and a “cause” to terminate D’Ambly.

         23.     In September 2019, D’Ambly executed a separation agreement with the Daily

 News.

         24.   On September 21, 2020, the instant action was filed.




                                   Respectfully submitted,




                                  _________________________________
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